Case 1:24-cv-24453-KMW Document da EO ae? Docket 11/12/2024 Page 1of1

JS44° (Rev. 04/21) FLSD Revised 12/02/2022

The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as seauited by law, except as provided
by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the purpose of initiating
the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.) NOTICE: Attorneys MUST Indicate All Re-filed Cases Below.

I. (a) PLAINTIFFS DEFENDANTS
PROPERTY TAX CONSULTANTS, LLC, TAX SAVERS OF MIAMI, INC., a Florida
a Florida limited liability company, corporation, and LAWRENCE PUYANIC, an individual
(b) County of Residence of First Listed Plaintiff BROWARD County of Residence of First Listed Defendant
(EXCEPT IN U.S. PLAINTIFF CASES) CIN U.S. PLAINTIFF CASES ONLY)
NOTE: IN LAND CONDEMNATION CASES, USE THE LOCATION OF
THE TRACT OF LAND INVOLVED.
(c) Attorneys (Firm Name, Address, and Telephone Number) Attomeys (If Known)

Oliver Alan Ruiz, Max Matiauda, Malloy & Malloy, PL
2800 S.W. Third Avenue Miami, Florida 33129 Phone 305-858-8000

(d) Check County Where Action Arose: ff) MIAMI-DADE [] MONROE 1 BROWARD CIPALMBEACH CI MARTIN C1ST.LUCIE DUINDIANRIVER C)OKEECHOBEE [HIGHLANDS

II. BASIS OF JURISDICTION = (Place an “x” in One Box Only) Ill. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X” in One Box for Plaintiff)
(For Diversity Cases Only) and One Box for Defendant)
O 1. US. Government 3 ~~ Federal Question PTF DEF PTF DEF
Plainuff (U.S. Government Not a Party) . O Citizen of This State ol O11 Incorporated or Principal Place O4¢ o4
of Business In This State
O 2. US. Government o4 Diversity QO Citizen of Another State O 2 O 2 Incorporated and Principal Place Os Os
Defendant (indicate Citizenship of Parties in Item II) of Business In Another State
Citizen or Subject ofa . :
Foreign Country B43 0 3 Foreign Nation oO¢é6 O86
IV. NATURE OF SUIT (Place an “X" in One Box Onby) Click here for: Nature of Suit Code Descriptions
CONTRACT TORTS FORFEITURE/PENALTY BANKRUPTCY OTHER STATUTES
0 110 Insurance PERSONAL INJURY PERSONAL INJURY DO) 625 Drug Related Seizure O 422 Appeal 28 USC 158 O 375 False Claims Act
0 120 Marine 0 310 Airplane 0) 365 Personal Injury - of Property 21 USC 881 OO) 423 Withdrawal O 376 Qui Tam (31 USC 3729(a))
0 130 Miller Act 01315 Airplane Product Product Liability U1 690 Other 28 USC 157 400 State Reapportionment
0 140 Negotiable Instrument Liability OO 367 Health Care/ 0 410 Antitrust
0 150 Recovery of Overpayment (©) 320 Assault, Libel & Pharmaceutical ECE O 430 Banks and Banking
& Enforcement of Judgment Slander Personal Injury OQ) 820 Copyrights O 450 Commerce
C) 151 Medicare Act C1 330 Federal Employers’ Product Liability O 830 Patent O 460 Deportation
oO 152. Recovery of Defaulted Liabili g 835 Patent — Abbreviated oO 470 Racketeer Influenced
Student Loans rabiy 368 Asbestos Personal New Drug Application and Corrupt Organizations
0 Injury Product Liability 840 Trademark 480 C Credit
(Excl. Veterans) 0 340 Manne 880 Defend Trade Secrets oO ‘onsumer Credi
O ‘Act of 2016 (15 USC 1681 or 1692)
(1 153 Recovery of Overpayment (1 345 Marine Product LABOR SOCIAL SECURITY o Proeien ae Cree
of Veteran’s Benefits Liability PERSONAL PROPERTY L710 Fair Labor Standards Acts O1 861 HIA (1395ff) O1 490 Cable/Sat TV
0 160 Stockholders’ Suits (1 350 Motor Vehicle 0 370 Other Fraud 00 720 Labor/Mgmt. Relations 1 862 Black Lung (923) 0 850 Secunities/Commodities/
(1 190 Other Contract CJ 355 Motor Vehicle 0 371 Truth in Lending OD 740 Railway Labor Act 0 863 DIWC/DIW W (405(g)) Exchange
0 195 Contract Product Liability Product Liability 0 380 Other Personal D751 Family and Medical OO 864 SSID Title XVI i 890 Other Statutory Actions
U1 196 Franchise C1 360 Other Personal Property Damage Leave Act 0 865 RSI (405(g)) O 891 Agricultural Acts
Injury O 385 Property Damage 0 790 Other Labor Litigation C) 893 Environmental Matters
(2 362 Personal Injury - Product Liability QO 791 Eimployee Retirement 1 895 Freedom of Information Act
Med. Malpractice Income Security Act O 896 Arbitration
REAL PROPERTY CIVIL RIGHTS PRISONER PETITIONS FEDERAL TAX SUITS OD 899 Administrative Procedure
1 210 Land Condemnation [440 Other Civil Rights Habeas Corpus: o Defendant) a Plamntitl or Aa deeee of
O 220 Foreclosure 0441 Voting O 463 Alien. Detainee Oo oo Thied Party 26USC (5 ete of
O81 230 Rent Lease & Ejectment 0 442 Employment Oo pity Meticus aes
443 Housing/
OO 240 Torts to Land Oo Accommodations O 530 General
0 245 Tort Product Liability 01445 Amer, w/Disabilities- [1 535 Death Penalty IMMIGRATION
O 290 All Other Real Property Employment Other: O 462 Naturalization Application
0 446 Amer. w/Disabilities- C2 540 Mandamus & Other [465 Other Immigration
Other 0 550 Civil Rights Actions
0 448 Education (1) $55 Prison Condition
560 Civil Detainee —
O Conditions of
Confinement
V. ORIGIN (Place an “X" in One Box Only) ra
tat i i Transferred from 6 Mulltidistrict ease
a! Peeing a2 Removed O43 fave ay Reinstited El & another district Litigation a? Appeal ‘o O08 Multidistrict Oo Remanded from
Court below) Reopened (specify) Transfer Distiret Jud Be Litigation Appellate Court
from Magistrate — Direct
Judgment File
VI. RELATED/ (See instructions): a) Re-filed Case LIYES BNO b) Related Cases DYES X11 NO
RE-FILED CASE(S) JUDGE: DOCKET NUMBER:

Cite the U.S. Civil Statute under which you are filing and Write a Brief Statement of Cause (No not cite jurisdictional statutes untess diversity):

VIL. CAUSE OF ACTION 15 U.S.C. § 1125 for FALSE ADVERTISING

LENGTH OF TRIAL via days estimated (for both sides to try entire case)

VIII. REQUESTED IN O CHECK IF THIS IS A CLASS ACTION 2 ; "TE 5 ia : —_

COMPLAINT: UNDER FRCP. 23 DEMAND § UNSPECIFIED CHECK YES only if demanded in complaint:

JURY DEMAND: C Yes i No
ABOVE INFORMATION IS TRUE & CORRECT TO THE BEST OF MY KNOWLEDGE
DATE SIGHT. RE OF ATTORNEY OF RECORD
gr 2 emo ioe,
11/12/24 ( &ACA)

FOR OFFICE USE ONLY : RECEIPT # AMOUNT IFP JUDGE MAG JUDGE
